               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                             CIVIL NO. 1:21-CV-00234

UNITED STATES OF AMERICA,            )
                                     )
            Plaintiff,               )
                                     )
v.                                   )          VERIFIED COMPLAINT FOR
                                     )            FORFEITURE IN REM
APPROXIMATELY $3,910.00 IN U.S. )
CURRENCY seized from Wesley Adam )
Rogers on or about April 6, 2021, in )
McDowell County, North Carolina,     )
                                     )
            Defendant.               )


      NOW COMES the United States of America, Plaintiff herein, by and through

William T. Stetzer, Acting United States Attorney for the Western District of North

Carolina, in a civil cause of forfeiture, and respectfully states the following:

                              NATURE OF ACTION

      1.     This is a civil action in rem against approximately $3,910.00 in

United States Currency (“the Defendant Currency”) seized from Wesley

Adam Rogers on or about April 6, 2021, in McDowell County, North Carolina.

                          JURISDICTION AND VENUE

      2.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1345 and 1355.



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      3.     This Court has in rem jurisdiction over the Defendant Currency, and

venue is proper pursuant to 28 U.S.C. § 1355(b)(1) because acts or omissions giving

rise to the forfeiture occurred in the Western District of North Carolina.

      4.     Venue is also proper pursuant to 28 U.S.C. § 1395 because the

Defendant Currency is located in the Western District of North Carolina.

      5.     The Defendant Currency was seized within and is now within the

Western District of North Carolina.

                           BASIS FOR FORFEITURE

      6.     This civil action is brought against the Defendant Currency because it

constitutes money furnished or intended to be furnished by any person in exchange

for a controlled substance or listed chemical in violation of 21 U.S.C. §§ 841 and/or

846, proceeds traceable to such an exchange, and/or money used or intended to be

used to facilitate a violation of 21 U.S.C. §§ 841 and/or 846, and is therefore subject

to forfeiture pursuant to 21 U.S.C. § 881(a)(6).

                                       FACTS

      7.     On April 6, 2021, Deputy Watson with the McDowell County Sheriff’s

Office, with assistance from other officers, conducted a driver’s license checkpoint

at the intersection of Harmony Grove Road and Fairview Road in Nebo,

North Carolina.

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      8.     While performing the checkpoint, Deputy Watson encountered a

burgundy GMC Sierra pickup truck.

      9.     The truck was operated by an individual named Wesley Adam Rogers.

Tommy Lynn Burelson was the front-seat passenger.

      10.    Upon learning that Mr. Rogers had a suspended driver’s license,

Deputy Watson asked him to pull the truck over.

      11.    North Carolina Highway Patrol Trooper Ruppe issued Mr. Rogers a

citation for driving without a valid driver’s license.

      12.    Deputy Watson went to speak with Mr. Rogers.

      13.    When he approached the truck, Deputy Watson detected an odor of

marijuana coming from the vehicle.

      14.    Deputy Watson asked Mr. Rogers if he could search the vehicle.

Mr. Rogers consented.

      15.    Deputy Watson asked Mr. Rogers to exit the vehicle, and requested

permission to conduct a pat-down search. Mr. Rogers consented.

      16.    When Deputy Watson conducted the pat-down, he felt a large bulge in

Mr. Rogers’ right shorts pocket. Mr. Rogers stated that the bulge was his money.

      17.    Deputy Watson also asked Mr. Burelson to exit the vehicle, and

requested permission to conduct a pat-down search. Mr. Burelson consented.

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      18.    While conducting a pat-down search of Mr. Burelson, Deputy Watson

observed Mr. Burleson throw something.              When Deputy Watson asked

Mr. Burleson what he had thrown, Mr. Burleson replied that it was a blunt.

      19.    After conducting pat-down searches of both Mr. Rogers and

Mr. Burelson, Deputy Watson proceeded to search the truck.

      20.    During a search of the truck, Deputy Watson located a clear plastic bag

with a green leafy substance that was tied in a knot in the top of the center console.

Deputy Watson located a second clear plastic bag with a green leafy substance

shoved between the passenger seat and the center console area of the truck.

      21.    Based upon Deputy Watson’s training and experience, the green leafy

substance in the two clear plastic bags appeared to be marijuana.

      22.    Under the center console, Deputy Watson located a clear plastic bag

that contained a white crystalline substance.

      23.    Based upon Deputy Watson’s training and experience, the white

crystalline substance in the clear plastic bag appeared to be methamphetamine.

      24.    Deputy Watson weighed the plastic bag containing the white crystalline

substance. It weighed approximately 38 grams, which is considered a trafficking

level of methamphetamine. Lab analysis later confirmed that the white crystalline

substance was methamphetamine.

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      25.    Mr. Rogers and Mr. Burelson were placed into custody and provided

Miranda warnings.

      26.    Mr. Rogers yelled that the “drugs were not his and this was bullshit.”

      27.    In contrast, Mr. Burelson stated that Mr. Rogers knew about the drugs

because they had just purchased them from Kayla Bates and they were on their way

to sell them in Nebo.

      28.    Both Mr. Rogers and Mr. Burelson were charged with trafficking

methamphetamine and possession of marijuana.

      29.    The money in Mr. Rogers’ pocket was seized and is the Defendant

Currency in this action.

      30.    Contrary to what Mr. Rogers said at the scene, while in transport to the

McDowell County courthouse, Mr. Rogers stated that the Defendant Currency

belonged to Mr. Burelson.

      31.    Mr. Rogers also stated that he did not know anything about the drugs

found under the center console. However, at the time that Mr. Rogers made this

statement, the officers had not told him where the drugs were located, further

confirming his knowledge of the drugs in the truck.




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      32.   The Defendant Currency was adopted by the Drug Enforcement

Administration (“DEA”) for forfeiture and it was converted to a cashier’s check

payable to the U.S. Marshals Service.

      33.   Mr. Rogers has a prior criminal history, including previous incidents

involving trafficking heroin and possession of methamphetamine.

      34.   Mr. Burelson also has a prior criminal history, including previous

incidents involving crack cocaine and methamphetamine.

                     ADMINISTRATIVE FORFEITURE

      35.   DEA initiated an administrative forfeiture action against the Defendant

Currency.

      36.   On May 28, 2021, Mr. Rogers filed a claim as to the Defendant

Currency.

      37.   The United States now files this Complaint in response to that claim.

      38.   The following persons may have or claim an interest in the Defendant

Currency:

Wesley Adams Rogers
228 Jonestown Road
Bostic, NC 28018

Tony Lynn Burleson
760 Cherokee Way
Marion, NC 28752

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                                    CONCLUSION

        39.   By virtue of the foregoing, all right, title, and interest in the Defendant

Currency vested in the United States at the time of the commission of the unlawful

act giving rise to forfeiture, 21 U.S.C. § 881(h), and has become and is forfeitable to

the United States of America.

                                  PRAYER FOR RELIEF

        WHEREFORE, the United States of America respectfully prays the Court

that:

        (1)   a warrant for the arrest of the Defendant Currency be issued;

        (2)   due notice be given to all parties to appear and show cause why the

forfeiture should not be decreed;

        (3)   judgment be entered declaring the Defendant Currency to be

condemned and forfeited to the United States of America for disposition according

to law; and

        (4)   the United States be granted such other and further relief as this Court

may deem just and proper, together with the costs and disbursements of this action,

including but not limited to the expenses of maintenance and protection of the

Defendant Currency as required by 28 U.S.C. § 1921.




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Respectfully submitted this 25th day of August, 2021.

                                 WILLIAM T. STETZER
                                 ACTING UNITED STATES ATTORNEY

                                 s/ Jonathan D. Letzring
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                                VERIFICATION

      I am a Special Agent with the Drug Enforcement Administration. Pursuant

to 28 U.S.C. § 1746, I hereby verify and declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge, information, and belief.



Date: 08/23/2021
                                          Andrew G. Scripture
                                          DEA Special Agent




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